Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.921 Page 1 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.922 Page 2 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.923 Page 3 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.924 Page 4 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.925 Page 5 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.926 Page 6 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.927 Page 7 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.928 Page 8 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.929 Page 9 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.930 Page 10 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.931 Page 11 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.932 Page 12 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.933 Page 13 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.934 Page 14 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.935 Page 15 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.936 Page 16 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.937 Page 17 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.938 Page 18 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.939 Page 19 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.940 Page 20 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.941 Page 21 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.942 Page 22 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.943 Page 23 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.944 Page 24 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.945 Page 25 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.946 Page 26 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.947 Page 27 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.948 Page 28 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.949 Page 29 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.950 Page 30 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.951 Page 31 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.952 Page 32 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.953 Page 33 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.954 Page 34 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.955 Page 35 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.956 Page 36 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.957 Page 37 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.958 Page 38 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.959 Page 39 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.960 Page 40 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.961 Page 41 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.962 Page 42 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.963 Page 43 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.964 Page 44 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.965 Page 45 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.966 Page 46 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.967 Page 47 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.968 Page 48 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.969 Page 49 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.970 Page 50 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.971 Page 51 of 52
Case 3:19-cv-02210-BAS-MSB Document 68 Filed 04/22/22 PageID.972 Page 52 of 52
